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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No. 07-cv-01134-JLK-MEH

REID L. ROSENTHAL,

      Plaintiff,

vs.

HIGH COUNTRY NEWS,
and JOHN DOES 1-50,

   Defendants.
_________________________________________________________________________________

          NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
_______________________________________________________________________________

          COMES NOW Plaintiff Reid L. Rosenthal, by and through his counsel, Semler &

Associates, P.C. and Kutner Miller Brinen, P.C., and respectfully gives notice of the voluntary

dismissal of this action without prejudice to his right to re-file should circumstances warrant. None

of the Defendants have answered, moved for summary judgment or otherwise appeared in this

action.

          Dated this 14th day of September 2007.


                                                   SEMLER & ASSOCIATES, P.C.

                                                   s/ Matthew Nelson
                                                   R. Parker Semler
                                                   Matthew Nelson
                                                   Semler & Associates, P.C.
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                                    KUTNER MILLER BRINEN, P.C.

                                    s/ Jeffrey S. Brinen
                                    Jeffrey S. Brinen
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